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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 0:24-CV-60382

  JESSICA PIAFSKY, an individual,

         Plaintiff,
  v.

  MB HOME IMPROVEMENTS INC. a Florida
  corporation, MAXIM BOHADANA, an individual,
  ROI NEEMAN, an individual and
  CONSTRUCTION FORT LAUDERDALE INC.
  d/b/a MB HOME IMPROVEMENTS, a Florida
  corporation,

        Defendants.
  ___________________________________ /

                  NOTICE OF APPEARANCE OF ANDREW W. BRAY, ESQ.

         COMES NOW, Defendants, MB HOME IMPROVEMENTS INC., a Florida Corporation

  and MAXIM BOHADANA, an Individual, by and through his undersigned counsel and hereby

  serves notice upon this Honorable Court and all parties hereto of the appearance of Andrew W.

  Bray, Esq. on behalf of Defendants, MB HOME IMPROVEMENTS INC., a Florida Corporation

  and MAXIM BOHADANA, an Individual in the above-referenced matter.

  Date: February 14, 2025,                  Respectfully submitted,

                                     By:    Andrew W. Bray
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                                               Attorneys for Defendants

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and accurate copy of the foregoing has been served via

  e-mail on counsel for all parties at the email addresses below or has been served by automatic

  service by the Court’s e-filing system, on February 14, 2025.

  Daniel W. Berenthal, Esq.
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  Attorney for Plaintiff

                                               /s/ Andrew W. Bray
                                               Andrew W. Bray, Esq. (Fla. Bar No. 752401)




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